      Case 3:12-cr-00414-DRD        Document 489      Filed 11/01/12    Page 1 of 9




                             IN THE UNITED STATES COURT
                           FOR THE DISTRICT OF PUERTO RICO



 UNITED STATES OF AMERICA,
                                                 CRIM. NO.: 12-066(DRD/SCC)
              Plaintiff,                                    12-414(DRD/SCC

                     v.

 [1 & 58] DANIEL TORRES-GUZMÁN,

              Defendant.




            REPORT AND RECOMMENDATION ON PLEA OF GUILTY

       I.     PROCEDURAL BACKGROUND

       On February 1, 2012, defendant Daniel Torres-Guzmán was charged in a multi-

count indictment in criminal case No. 12-066. On May 30, 2012 defendant was charged

in a multi-count indictment in criminal case No. 12-414. On October 26, 2012, the

defendant, assisted by the court interpreter, appeared before me and agreed to plead

guilty to count one of the indictment in both cases. See United States v. Woodard, 387

F.3d 1329 (11th Cir. 2004) (holding that a magistrate judge may, with the defendant’s

consent, conduct a Rule 11 guilty plea hearing). Count one of Criminal Case No. 12-066

charges that the defendant, with others, did knowingly and intentionally possess with

the intent to distribute narcotics, including cocaine base, all within 1,000 feet of public


                                            1
       Case 3:12-cr-00414-DRD          Document 489      Filed 11/01/12      Page 2 of 9



United States v. Torres-Guzmán
Crim. No. 12-066 and 12-414(DRD/SCC)
Report and Recommendation

housing facilities, all in violation of Title 21, United States Code, Sections 841(a)(1),

860 and Title 18 United States Code, Sections 2. Count one of Criminal Case No. 12-

414 charges that the defendant, with others, did knowingly and intentionally, combine,

conspire, and agree to knowingly and intentionally possess with the intent to distribute

and/or distribute controlled substances,           all within 1,000 feet of public housing

facilities, all in violation of Title 21, United States Code, Sections 841(a)(1), 846 and

860.

       The defendant was advised of the purpose of the hearing and placed under oath,

with instructions that his answers must be truthful or he would subject himself to

possible charges of perjury or making a false statement.

       II.    CONSENT TO PROCEED BEFORE A MAGISTRATE JUDGE

       The defendant was provided with, and signed, a form waiving his right to trial

by jury.1 He confirmed that his attorney explained and translated the form, and he was

further explained his right to have all proceedings, including the change of plea

hearing, conducted by a district judge. To this end, defendant was made to understand

the differences between the functions and jurisdiction of magistrate and district judges,

and that, if he chose to proceed before a magistrate judge, that the magistrate would

hold the hearing and prepare a report and recommendation, which would be subject


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         That form, entitled Consent to Proceed before a United States Magistrate Judge in a
Felony Case for Pleading Guilty, was signed and consented to by both parties, and is made part
of the record.

                                               2
      Case 3:12-cr-00414-DRD           Document 489   Filed 11/01/12   Page 3 of 9



United States v. Torres-Guzmán
Crim. No. 12-066 and 12-414(DRD/SCC)
Report and Recommendation

to review by and the final approval of the district judge. Having heard all of this, the

defendant consented to proceed before a magistrate judge.

      III.   PROCEEDINGS UNDER RULE 11 OF THE FEDERAL RULES OF
             CRIMINAL PROCEDURE

      The acceptance of guilty pleas for federal criminal violations is governed by Rule

11 of the Federal Rules of Criminal Procedure, pursuant to which a guilty plea is valid

only if it is knowing and voluntary. United States v. Hernandez-Wilson, 186 F.3d 1, 5

(1st Cir. 2009). Accordingly, Rule 11 “ensure[s] that a defendant who pleads guilty does

so with an ‘understanding of the nature of the charge and consequences of his plea.’”

United States v. Cotal-Crespo, 47 F.3d 1, 4 (1st Cir. 1995) (quoting McCarthy v. United

States, 394 U.S. 459, 467 (1969)). Thus, a Rule 11 proceeding must indicate (1) the

absence of coercion, (2) an understanding of the charges, and (3) knowledge of the

consequences of pleading guilty. Cotal-Crespo, 47 F.3d at 4 (citing United States v.

Allard, 926 F.2d 1237, 1244 (1st Cir. 1991)).

      A.     Competence to Enter a Guilty Plea

      The defendant was questioned about his age, education, employment, history of

treatment for mental illness or addiction, use of medication, drugs, or alcohol, and his

understanding of the purpose of the hearing. It was confirmed that the defendant

received a copy of the indictment and fully discussed the charges with his counsel and

was satisfied with the advice and representation he received. The court inquired



                                             3
      Case 3:12-cr-00414-DRD           Document 489   Filed 11/01/12   Page 4 of 9



United States v. Torres-Guzmán
Crim. No. 12-066 and 12-414(DRD/SCC)
Report and Recommendation

whether counsel for the defendant or the government had any doubts about the

defendant’s capacity to plead; neither had any doubts about defendant’s competency.

Upon hearing the defendant’s responses and observing his demeanor, a finding was

made that the defendant was competent to plead and was fully aware of the hearing’s

purpose.

      B.     Maximum Penalties

      The defendant expressed his understanding of the maximum penalties

prescribed by statute for the offense to which he was pleading guilty, namely, as to

count one in Criminal Case No. 12-066, a term of imprisonment of not less than five

years and not more than eighty years, a fine not to exceed $10,000,000, and a term of

supervised release of at least eight years. As to count one in Criminal Case No. 12-414,

a term of imprisonment of not less than ten years and not more than life, a fine not to

exceed $20,000,000, and a term of supervised release of at least ten years. However,

based on the stipulated and agreed amount of narcotics possessed by the defendant, the

maximum penalty for the offense shall be a term of imprisonment of not less than five

and not more than eighty years, a fine not to exceed $10,000,000, and a term of

supervised release of at least eight years. Defendant was also informed that a special

monetary assessment of $100 would also be imposed, to be deposited in the Crime

Victim Fund, pursuant to Title 18, United States Code, Section 3013(a). The court

explained the nature of supervised release and the consequences of violating its terms.


                                             4
      Case 3:12-cr-00414-DRD           Document 489   Filed 11/01/12   Page 5 of 9



United States v. Torres-Guzmán
Crim. No. 12-066 and 12-414(DRD/SCC)
Report and Recommendation

      C.     Plea Agreement

      The defendant was shown documents titled Plea Agreement and Supplement to

Plea Agreement (together, “Plea Agreement”), which are part of the record, and

identified his initials and signatures. He confirmed that he had the opportunity to read

and discuss the Plea Agreement with his attorney before signing, that his attorney had

translated the document, that it represented the entirety of his understanding with the

government, that he understood its terms, and that no one had made any other or

different promises or assurances to induce him to plead guilty.

      Pursuant to the Plea Agreement in this case, the Government had agreed to

recommend, or has agreed not to oppose the defendant’s request, that a particular

sentence or sentencing range is appropriate or that a particular provision of the

Sentencing Guidelines or sentencing factor does not apply. See Fed. R. Crim. P.

11(c)(1)(B). The defendant was admonished, pursuant to Rule 11(c)(3)(B), that his

sentence is a matter to be decided by the presiding judge, who may disregard the

Agreement’s recommendations and impose any sentence within the statutory range.

To this end, the presiding judge may accept or reject the Plea Agreement or may defer

decision until after considering the pre-sentence report. The defendant understood that

he could not later withdraw his guilty plea because the presiding judge imposes a

sentence greater than that recommended by the Plea Agreement.

      The parties’ sentencing calculations and recommendations appear in the Plea


                                             5
      Case 3:12-cr-00414-DRD           Document 489   Filed 11/01/12   Page 6 of 9



United States v. Torres-Guzmán
Crim. No. 12-066 and 12-414(DRD/SCC)
Report and Recommendation

Agreement and were explained in open court. The defendant confirmed that these were

the sentencing recommendations he agreed to with the government. The defendant was

made to understand that the guidelines are no longer mandatory and are thus

considered advisory, and that during sentencing, the court will consider the sentencing

criteria found at Title 18, United States Code, Section 3553(a).

      The defendant was advised that under some circumstances, he or the

government may have the right to appeal the sentence the court imposes. The

defendant was further informed, and professed to understand, that the Plea Agreement

contains a waiver of appeal provision under which the defendant agreed to waive his

right to appeal the judgment and sentence if the court accepts the Plea Agreement and

sentences him according to its terms and conditions.

      D.     Waiver of Constitutional Rights

      The defendant was specifically advised that he has the right to persist in a plea

of not guilty, and that if he does so persist that he has the right to a speedy and public

trial by jury, or before a judge sitting without a jury if the court and government so

agree; that at trial he would be presumed innocent and the government would have to

prove his guilt beyond a reasonable doubt; that he would have the right to assistance

of counsel for his defense, and if he could not afford an attorney the court would

appoint one to represent him; that at trial he would have the right to hear and cross-

examine the government’s witnesses, the right to decline to testify unless he


                                             6
      Case 3:12-cr-00414-DRD           Document 489   Filed 11/01/12    Page 7 of 9



United States v. Torres-Guzmán
Crim. No. 12-066 and 12-414(DRD/SCC)
Report and Recommendation

voluntarily elected to do so, and the right to the issuance of subpoenas or compulsory

process to compel the attendance of witnesses to testify on his behalf. He was further

advised that if he decided not to testify or put on evidence at trial, his failure to do so

could not be used against him, and that at trial the jury must return a unanimous

verdict before he could be found guilty.

       The defendant expressed his understanding of these right, and his

understanding that by entering a plea of guilty there would be no trial and he would

be waiving or giving up the rights the court explained. The defendant’s counsel

attested that he explained these rights to his client and believed that the defendant

understood his explanations. The defendant was also informed that parole has been

abolished and that any sentence of imprisonment must be served. Further, defendant

was explained that a pre-sentence report would be prepared and considered by the

district judge at sentencing. Defendant was admonished that his guilty plea, if

accepted, may deprive him of valuable civil rights, including the right to vote, to hold

public office, and to possess a firearm. The defendant expressed his understanding of

these consequences.

       E.     Factual Basis for the Guilty Plea

       The government presented a summary of the basis in fact for the offense charged

in count one and the evidence the government had available to establish the

defendant’s guilt beyond a reasonable doubt, should the case go to trial. The defendant


                                             7
      Case 3:12-cr-00414-DRD           Document 489   Filed 11/01/12   Page 8 of 9



United States v. Torres-Guzmán
Crim. No. 12-066 and 12-414(DRD/SCC)
Report and Recommendation

understood this explanation and agreed with the government’s submission as to

evidence which could have been presented at trial.

      F.     Voluntariness

      The defendant stated that he had not been induced to plead guilty, but, rather,

that he was entering such a plea freely and voluntarily because he is in fact guilty, and

that no one had threatened him or offered him a thing of value in exchange for his plea.

He acknowledged that no one had made any promises in exchange for his guilty plea,

other than the recommendations set fort in the Plea Agreement. Throughout the

hearing, the defendant was able to consult with his attorney.

      IV.    CONCLUSION

      The defendant, by consent, appeared before me pursuant to Rule 11 of the

Federal Rules of Criminal Procedure and entered a plea of guilty as to count one of the

indictment in both criminal cases 12-066 and 12-414. After cautioning and examining

the defendant under Rule 11, I find that the defendant, Daniel Torres-Guzmán, is

competent to enter this guilty plea, is aware of the nature of the offenses charged and

the maximum penalties they carry, understands that the charges are supported by

evidence and a basis in fact, has admitted to the elements of the offenses, and has done

so in an intelligent and voluntary manner with the full knowledge of the consequences

of his guilty plea. Therefore, I recommend that the court accept the guilty plea and that

the defendant be adjudged guilty as to count one of both indictments.


                                             8
      Case 3:12-cr-00414-DRD           Document 489   Filed 11/01/12   Page 9 of 9



United States v. Torres-Guzmán
Crim. No. 12-066 and 12-414(DRD/SCC)
Report and Recommendation

      IT IS SO RECOMMENDED.

      The parties have fourteen days to file any objections to this report and

recommendation. Failure to file the same within the specified time waives the right to

appeal this report and recommendation. Henley Drilling Co. v. McGee, 36 F.3d 143,

150-51 (1st Cir. 1994); United States v. Valencia-Copete, 792 F.2d 4 (1st Cir. 1986).

      In San Juan, Puerto Rico, this 26th day of October, 2012.

                                           S/ SILVIA CARREÑO-COLL
                                           UNITED STATES MAGISTRATE JUDGE




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